                          UNITED STATES DISTRICT COURT
                       WESTERN DISTRICT OF NORTH CAROLINA
                              CHARLOTTE DIVISION

                                           3:02cr94-FDW


UNITED STATES OF AMERICA,    )
                             )
                  Plaintiff  )
                             )
         v.                  )                                   ORDER
                             )
ALVARO SANTANA-GONZALEZ (20) )
                             )
                  Defendant  )



This MATTER is before the Court on its own motion to administratively close the case as to

ALVARO SANTANA-GONZALEZ. The defendant appears to remain a fugitive with no

activity taking place in this case in recent times.



It is, therefore, ordered that this case be deemed closed for administrative purposes only, subject

to re-opening upon the apprehension or appearance of the defendant.

                                                  Signed: April 26, 2011




       Case 3:02-cr-00094-FDW            Document 509        Filed 04/26/11     Page 1 of 1
